                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           WINSTON-SALEM DIVISION

                              CIVIL ACTION NO. 1:15-CV-599

                                                )
FREDDIE WAYNE HUFF, II,                         )
                                                )
                     Plaintiff,                 )
                                                )
v.                                              )
                                                )
NORTH CAROLINA DEPARTMENT OF                    )
PUBLIC SAFETY, an agency of North               )
Carolina, DIVISION OF STATE HIGHWAY             )
PATROL, a principal subunit of an agency of     )
the State of North Carolina, FRANK L.           )
PERRY, in his official capacity as Secretary    )       JOINT RULE 26(F) REPORT
of the Department of Public Safety and          )
individually; WILLIAM J. GREY, in his           )
official capacity as Commanding Officer of      )
the Division of State Highway Patrol and        )
individually; JENNIFER A. HARRIS, in her        )
official capacity as the Director of            )
Professional Standards for the Division of      )
State Highway Patrol and individually; and      )
JOSEPH A. COTTON, in his official capacity      )
as the Director of Internal Affairs with the    )
Division of State Highway Patrol and            )
individually,                                   )
                                                )
                    Defendants.                 )


            1. Pursuant to Fed.R.Civ.P. 26(f) and LR 16.1(b), a conference between counsel

     was held on October 9, 2015, via telephone, and was attended by Randolph M. James,

     attorney for Plaintiff, Freddie Wayne Huff; and Tammera S. Hill, attorney for Defendants

     North Carolina Department of Public Safety, Division of State Highway Patrol, Frank L. Perry,

     William J. Grey, Jennifer A. Harris, and Joseph A. Cotton

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        2. Discovery Plan. The parties propose to the Court the following discovery plan:

        Discovery will be needed on the following subjects:

              The circumstances surrounding the claims asserted by Plaintiff;

              Plaintiff’s claims and Defendants’ defenses;

              Plaintiff’s alleged damages;

              Other relevant matters as may be determined through discovery.

        Discovery shall be placed on a case-management track established in LR 26.1

The parties agree that the appropriate plan for this case is that designated in LR 26.1 as:

Complex.

        The date for the completion of all discovery (general and expert) is: May 31,

2016.

        Stipulated modifications to the case management track include: Initial disclosures

shall be due on or before November 10, 2015.

        Reports from retained experts under Rule 26(a)(2) are due during the discovery

period:

              From Plaintiff by February 2, 2016.

              From Defendants by March 2, 2016.

        3. Mediation. Mediation should be conducted midway in the discovery period, the

exact date to be set by the mediator after consultation with the parties. The parties will

confer on a selected mediator.



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       4. Preliminarily, the parties agree to the following schedule for depositions: All

depositions to be completed by the close of the discovery period on May 31, 2016.

       5. Other issues:

       The parties have discussed special procedures for managing this case, including

the reference of the case to a magistrate judge on consent of the parties under 28 U.S.C. §

636(c), or appointment of a master. The parties do not consent to the referral of the case

to a magistrate judge.

       Trial of the action is expected to take approximately five (5) days. A jury trial has

been demanded.




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            Respectfully submitted this the 16th day of October, 2015.


/s/ Randolph M. James                       /s/ Tammera S. Hill
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